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EXHIBIT 1
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PO, Box 1300, 1313 South Main Syeet, Weavervile, Callfornia o609S
Telephone: 530-623-1800, Fax: 880-625-8944

 

December 9, 2022

Mr. Emest Conant

Regional Director

Interior Region 10 — California Great Basin
Bureau of Reclamation

2800 Cottage Way, MP-100

Sacramento, California 95825

Mr. Paul Souza

Regional Director

Pacific Southwest Region

US Fish and Wildlife Service
2800 Cottage Way, W-2606
Sacramento, California 95825

Subject: Trinity Management Council (TMC) Recommendation for Water Year 2023 Trinity
River Flow Schedule

Dear Messrs. Conant and Souza:

In accordance with section 1.6 of Appendix C — Implementation Plan for the Preferred Alternative
of the Trinity River Environmental Impact Study/Environmental Impact Report (EIS/EIR), which
is incorporated by reference in the December 19, 2000, Record of Decision (ROD) that established
the Trinity River Restoration Program (TRRP), I am transmitting to you the initial water year 2023
(WY23) fishery restoration flow schedule recommended by the TMC.

The TMC is recommending that WY 23 restoration releases be implemented using the winter
flow variability ruleset analyzed and detailed here
(https://Awww.trrp.net/library/document/?id=2566). The decision tree summarizing the
recommendation is shown below in Figure 1.
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Elevated Baseflow Period
Feb. 15 - Agal. 15

 

 

 

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Mar. 15

 

 

 

Figure 1. WY23 flow schedule decision tree, from Abel et al. 2022, p20.

In summary, we recommend that a peak flow of 6,500 cubic feet per second (cfs) be released
between December 15 and February 15 to coincide with a storm event predicted to raise flows at
the Trinity River above the North Fork Trinity River gage to 4,500 cfs or greater. Fixed volumes
will be released during the elevated baseflow period of February 15-April 15 based upon the
California Department of Water Resources (DWR) February 1 and March | Bulletin 120
forecasts. Based on DWR’s April | water year forecast, the TMC will subsequently recommend
a spring restoration release schedule that best achieves ROD objectives for the remaining water
for the specified water year determination. Accordingly, the proposed flow management ruleset
is inherently water volume neutral relative to previous management. The proportion of water
shifted to use earlier than the start of the April 15 spring restoration flow release is shown below.
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Critically Dry 369,000 60,000 16%
Dry 453,000 80,000 18%
Normal 647,090 120,000 19%
Wet 701,600 180,000 26%
Extremely Wet 815,000 220,000 27%

 

 

 

 

Table 1. Water volumes shifted to winter/early spring period in acre-feet for each forecasted
water year type, from Abel et al. 2022, p29.

TRRP technical experts have consulted with CVO to ensure specific ramping schedules that
protect sensitive species are observed and to confirm that the recommendation can be
implemented using existing infrastructure. Detailed schedules will be communicated to
Reclamation’s Central Valley Operations Office upon approval.

The TMC recommends this hydrograph for your concurrence and implementation. The TRRP
will continue to monitor salmonid production, river temperatures, and sediment transport to
assess the goals of the Program. Extensive monitoring will be in place to assess the efficacy of
this proposed hydrograph, and initial findings will be presented to the TMC prior to any water
year recommendation for WY24.

If you have any questions regarding this matter, please contact me at (707) 825-5100, or
tanya_sommer@fws.gov.

Sincerely,
Digitally signed by
TANYA TANYA SOMMER
Date: 2022.12.09
SO M M E R 12:51:38 -08'00'
Tanya Sommer
Chair, Trinity Management Council

ce: (via electronic mail only)
Mr. Don Bader, dbader@usbr.gov
Dr. Mike Dixon, mdixon@usbr.gov
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